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[jiffyord] [Bench Order +]


                                              ORDERED.
         Dated: June 17, 2022




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                     Case No. 8:10−bk−03746−CPM
                                                                           Chapter 11

Stephen Kanya




________Debtor*________/


                               ORDER ON EXPEDITED MOTION TO DISMISS

           THIS CASE came on for hearing on June 16, 2022, for consideration of the Expedited
         Motion to Dismiss (Doc. 210), filed by United States Trustee.

           For the reasons stated orally and recorded in open court, the Expedited Motion to Dismiss is
         Granted in part (as to the entry of the Order Prescribing Consequences of Failure to File
         Operating Reports) and Denied in part.



            The Court in its discretion may file written findings of facts and conclusions of law at a later
         date.

            Service Instructions:

            The Clerk's office is directed to serve a copy of this order on interested non−CM/ECF users.

         Approved for entry.

         *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by
         two individuals.
